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  10
        Plaintiffs’ Co-Lead Counsel
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  12
                            UNITED STATES DISTRICT COURT
  13
                          CENTRAL DISTRICT OF CALIFORNIA
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  15   IN RE: NATIONAL FOOTBALL                  Case No. 2:15-ml-02668-PSG (JEMx)
       LEAGUE’S “SUNDAY TICKET”
  16   ANTITRUST LITIGATION                      DISCOVERY MATTER
  17   THIS DOCUMENT RELATES TO                  PLAINTIFFS’ APPLICATION
       ALL ACTIONS                               UNDER LOCAL RULE 79-5 TO
  18                                             FILE DOCUMENTS UNDER SEAL
  19                                             Magistrate Judge: Hon. John E.
                                                 McDermott
  20                                             Date/Time: 6/21/2022, 10:00 a.m.
                                                 Discovery Cutoff Date: 8/5/2022
  21                                             Pretrial-Conference Date: 2/9/2024
                                                 Trial Date: 2/22/2024
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   1         TO THE ABOVE-CAPTIONED COURT AND TO DEFENDANTS AND
   2   THEIR COUNSEL OF RECORD:
   3         PLEASE TAKE NOTICE that pursuant to Local Rule 79-5.2.2(b), Plaintiffs,
   4   by and through their counsel of record, hereby submit this application requesting the
   5   Court lodge provisionally under seal the following documents (lodged concurrently
   6   herewith):
   7      1. The sealed Declaration of Farhad Mirzadeh in Support of Plaintiffs’
   8         Application to File Documents Under Seal;
   9      2. The unredacted version of the Joint Stipulation Regarding Plaintiffs’ Motion
  10         to Compel Production of Documents By Apple Inc;
  11      3. The declarations of Mirzadeh, Smith, and Stevens;
  12      4. Exhibits 4, 5, 6, 7, 8, and 9 to the declaration of Farhad Mirzadeh; and
  13      5. Exhibits 1, 2, and 3 to the declaration of Bethany Stevens are herewith filed
  14         under seal.
  15

  16   Pursuant to correspondence regarding confidentiality issues, counsel for the National
  17   Football League, Inc. and NFL Enterprises LLC (collectively, the “NFL”) and Apple
  18   requested that Plaintiffs move the Court to seal the designated documents.
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          Dated: May 31, 2022                 Respectfully submitted,
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  22                                          By:     /s/ Farhad Mirzadeh
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